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                      EXHIBIT A
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· Pickett, Bruce L.                                                   Electronically Filed
                                                                      10/25/2018 10:25 PM
                                                                      Seventh Judic!al District, Bonneville County
                                                                      Penny Manning, Clerk of th& Court
                                                                      By: Angelica Linares, Depuly Clerk


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   Allomeys for Plaintiffs

            rN THE DISTRICT COURT OF THE SEVENTH JUDICIAL DISTRICT OF THE
                STATE OF IDAHO, IN AND FOR THE COUNTY OF BONNEVILLE

    SHAWN SCHMITT and JESSIE BLAKE,                  Case No.:CV10-18-6124
    Co-Personal Representatives to the ESTATE of
    WERNER SCHMJIT, Deceased, SHAWN
    SCHMITT, as Heir of Wcnicr Schmitt, JAMIE
    SCHMITT, as Heir of Werner Scllmitt, JESSIE          COMPLAINT AND
    BLAKE, as Heir of Werner Schmitt, Ml CHA EL      DEMAND FOR JURY TRIAL
    SCHMITT, as Heir of Werner Schmitt, and
    ALICIA SCHMITT, as Heir of Werner Schmitt,

                             Plaintiffs,

    v.

    RMC LAMAR HOLDINGS, INC., a Colorado
    corporation, doing business as RANCO and
    RANCO TRAILERS, THE MODERN GROUP,
    LTD., a Texas corporation, DRAGON
    PRODUCTS, LLC, a Texas Limited Liability
    Company, ORAGON PRODUCTS, Limited
    Partnership, an Idaho limited partnership, and
    DOES I THROUGH X,

                             Defendants.


   COMPLAlNT AND DEMAND FOR JURY TRJAL - I
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        COME NOW the above-named Plaintiffs, by and through their counsel of record, Michael

R. McBride of the law finn MCBRIDE ROBERTS & ROMRELL, ATTORNEYS and Jarom A.

Whitehead, of the finn      PEDERSEN    AND WHITEHEAD, and for a cause of action against the

Defendants, complain and allege as f'ollows:

                                                  I
        That Werner Schmitt, Deceased, was a resident of Idaho Falls, Bonneville County, State of

Idaho, al all times pertinent hereto.

                                                 II

       That Plaintiff Shawn Sclunitt and Jessie Blake are heirs to Werner Schmitt and

Co-Personal Representatives of his Estate.

                                                III

       That Plaintiff Jamie Schmilt is an heir and daughter to Werner Schmitt.

                                                IV

       That Plaintiff Michael Schmitt is an heir and son to Werner Schmitt.

                                                 V

       That Plaintiff Alicia Schmitt is an heir and daughter to Werner Schmitt.

                                                VI

       Upon infom1ation and belief, at all times herein mentioned, Defendant RMC Lamar

Holdings, Inc., is a corporation organized under the laws of the State of Colorado doing business

as Ranco and Ranco Trailers in the State of Idaho, out of which this action arises.




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                                                Vil

        Upon infom1ation and belief, at all times herein mentioned, Defendant The Modem Group,

Ltd. is a Texas corporation doing business in the State of Idaho, out of which this action arises.

                                                VIII

        Upon infonnation and belief, at all times herein mentioned, Defendant Dragon Products,

LLC is a Texas Limited Liability Company doing business in the State of ldaho, out of which this ,

action arises.

                                                 IX

        Upon infom1ation and belief, at all times herein mentioned, Defendant Dragon Products is

an Idaho limited partnership doing business in the State of Idaho, out of which this action arises.

                                                 X

       Plaintiffs arc presently unaware of the identities of all the Defendants identified as Does

1-X. Plaintiffs will amend this Complaint to identify those Defendants, if and when, their

identities become known.

                                                XI

       That lnfomrnl Probate of the Estate of Werner Schmitt was complete on January 10, 2017

in accordance with Idaho Code § 15-Uniform Probate Code in Bonneville County Case No.

CV-2016-6203 . Further, that on said date, Shawn Schmitt and Jessie Blake were appointed

Co-Personal Representatives of the Estate of Werner Schmitt and therefore has standing to bring

this Complaint pursuant to Idaho Code § S-311.

                                                XJI

       This Court has jurisdiction over this matter pursuant to Idaho Code § 1-705.


COMPLAINT AND DEMAND FOR JURY TRIAL· J
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                                                   Xlll

        Venue is appropriate in this Court pursuant to Idaho Code§ 5-404.

                                                   XIV

        The amount in controversy exceeds the sum of$ I 0,000.00, exclusive of interest and costs.

                                                   xv
        That on or about November I, 2016, Werner Schmitt was employed as a laborer with Eagle

Rock Timber, Inc. who hac:I been contracted lo deliver and dump gravel for an expansion of a

parking lot near 3855 N. S1h E., Idaho Falls, Bonneville County, State of Idaho.

                                                   XVI

        That at some lime before November I, 20 I 6, Defendants' designed, produced,

manufactured, approved and sold a Ranco trailer VIN I D9SD4232CR66 I 358 and all belly dump

control mechanisms relating to said trailer.

                                                   XVII

        That on or about November I, 2016, Werner Schmitt was working on a construction

project involving Defendants belly dump trailer where gravel was being dumped close to the edge

of pavement. Due to the close proximity of where the gravel was being dumped, Werner Schmitt

was positioned near the rear end of the trailer.

                                               XVIII

       That on or about November I, 2016, Werner Schmitt was running along beside the belly

dump trailer in order to work the manual controls when he lost his footing and fell. The moving

rear tire of the belly dump trailer crushed him resulting in his death.




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                                                 XJX

        The wrongful death of Werner Schmitt was caused by a product failure, particularly the

failure to warn and/or otherwise safeguard Werner Schmitt or any like operators relating to the

danger of manually operating the control panel on Ranco trailer VIN: JD9SD4232CR661358.

                                                  xx
        That Defendants' were negligent in the following as it relates to their Ranco Trailer, VIN:

I D9SD4232CR66 l 358 and all parts attached thereto, including a manual belly dump control

mechanism:

        1.     In failing to implement a safety design and/or guarding device.

       2.      In failing to warn users and operator of dangers associated thereto.

       3.      In failing to locate manual belly dump switch in a safe place.

                                                 XXI

       That as a direct and proximate cause of Defendants' negligence, Wemer Schmitt suffered

severe and debilitating injuries resulting in his death.

                                                XXIJ

       That as a direct and proximate cause of Defendants' negligence, Plaintiff Shawn Schmitt

has suffered general damages consisting of loss of Decedent, Werner Schmitt's care, assistance,

affection, society and moral support and will continue to suffer hereafter all to his general damage

in an amount to be proven at trial.

                                                XXIII

       That as a direct and proximate cause of Defendants' negligence, Plaintiff Jamie Schmitt

has suffered general damage consisting of loss of Decedent, Werner Schmitt's care, assistance,


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 affection, society and moral support and will continue to suffer hereafter all to her general damage

 in an amount to be proven at trial.

                                                XXIV

        That as a direct and proximate cause of Defendant's negligence, Plaintiff Jessie Blake has

 suffered general damage consisting of loss of Decedent, Werner Schmitt's care, assistance,

 affection, society and moral support and will continue to suffer hereafter all to her general damage

 in an amount to be proven at trial.

                                                XXV

        That as a direct and proximate cause of Defendants' negligence, Plaintiff Michael Schmitt

has suffered general damage consisting of loss of Decedent, Werner Schmitt's care, assistance,

affection, society and moral support and will continue to suffer hereafter all to his general damage

in an amount to be proven at trial.

                                               XXVI

       That as a direct and proximate cause of Defendants' negligence, Plaintiff Alicia Schmitt

has suffered general damage consisting of loss of Decedent, Werner Schmitt's care, assistance,

affection, society and moral support and will continue to suffer hereafter all to her general damage

in an amount to be proven at trial.

                                              :XXYII

    That as a direct and proximate cause of Defendants' negligence, Plaintiffs Shawn Schmitt and

Jessie Blake as Co-Personal Representatives of the Estate of Werner Schmitt have incurred special

damages including funeral, burial and other expenses, and will continue to suffer hereafter all to

their special damage in an amount to be proven at trial.


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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray judgment against Defendants' as follows:

        I.     For general damages in an amount to be proven at trial;

       2.      For special damages in an amount    to   be proven at trial;

       3.      For all damages in keeping with Idaho Code§ 5-311;

       4.      For attorney's fees, costs of suit, and other disbursements as the Court deems

equitable.

       RESPECTFULLY SUBMTTED this 25 1h day of October, 2018.

                                              MCBRIDE ROBERTS & ROMRELL, ATTORNEYS



                                              By:/s/ Michael R. McBride
                                                 Michael R. McBride
                                                 Attomeys for Plaintiffs


                                DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a Court by jury of all issues so triable of right herein.

       DA TED this 251h day of October, 2018.

                                              MCBRIDE ROBERTS & ROMRELL, ATTORNEYS




                                              By: Isl Michael R. McBride
                                                  Michael R. McBride
                                                  Attorneys for Plaintiffs




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